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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :       CASE NO. 21-cr-00374-APM-1
                v.                              :
                                                :
LOGAN GROVER,                                   :
                                                :
                        Defendant.              :


                     GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                           MOTION TO TRANSFER VENUE

        Defendant Logan Grover (“Grover”), who is charged in connection with events at the U.S.

Capitol on January 6, 2021, has moved to transfer venue in this case to “his home district of

Colorado.” ECF No. 40 at 9-10. Grover fails to establish that he “cannot obtain a fair and impartial

trial” in this district, Fed. R. Crim. P. 21(a) or that transfer is appropriate “[f]or convenience,” Fed.

R. Crim. P. 21(b), and this Court should deny his motion.

                                          BACKGROUND

        On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol

building. As a result, the Joint Session and the entire official proceeding of the Congress was

halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and

ensure the safety of elected officials.

        Based on closed-circuit video footage and other information gathered during the

investigation, at approximately 2:46 p.m. Grover first entered restricted grounds surrounding the

Capitol. At 3:15 p.m., Grover was on the East side of the Capitol near the outer Eastern Doors of



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the Rotunda.    Grover then entered the Capitol. Approximately three minutes later, Grover was

in the Rotunda where he remained until approximately 3:20 p.m. and during which time a physical

altercation between rioters and officers occurred. Grover left the Rotunda but remained inside the

Capitol Building. Video footage from an officer’s body-worn-camera time stamped at 3:27 p.m.

depicted Grover looking at his cellular phone as law enforcement officers removed Grover and

other protesters from the Capitol building. ECF No. 1-1 at 5. At 3:32 p.m., Grover exited the

Capitol through the East Rotunda doors.

       On January 21, 2021, the Federal Bureau of investigation (“FBI”) received an anonymous

tip that Grover had posted on Facebook that he planned to attend the January 6, 2021 rally at the

U.S. Capitol. The tipster also included a screen capture of a Facebook message attributed to Glover

that included the Washington Monument in Washington, D.C. and below the image a lengthy

paragraph that referenced the upcoming rally and concluded with Grover expressing uncertainty

about what would happen at the rally the next day (January 6), and that he “recogniz[ed] violence

is highly likely” but that he was “certain” that he needed to be at the rally. ECF No. 1-1 at 2. The

FBI also received a tip from another tipster who also stated that Glover had posted the same

Facebook message. Id. The investigation also uncovered numerous videos of Glover on Capitol

grounds and inside the Capitol on January 6, 2021. Id. For example, in a screen capture taken from

a video recovered from another protester Glover is depicted on Capitol grounds standing outside

a Capitol door. Id. at 3. A screen capture from a second video obtained by the FBI from another

tipster depicted Glover and other protesters outside a Capitol door. Id. at 4. The windowpanes in

the screen capture are clearly broken and another protester can be seen pointing at law enforcement

officers behind the Capitol door. Id. The FBI also received a third video which depicted Grover

inside the Capitol building near the Rotunda. Id.




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          On April 26, 2021, the Government filed a criminal complaint that charged Grover with

Knowingly Entering or Remaining in a Restricted Building or Grounds without Lawful Authority,

in violation of 18 U.S.C. § 1752 (a)(1); Disorderly and Disruptive Conduct in a Restricted

Building, in violation of 18 U.S.C. § 1752 (a)(2); Violent Entry and Disorderly Conduct on Capitol

Grounds, in violation of 40 U.S.C. § 5104 (e)(2)(D); and Parading, Demonstrating, or Picketing in

a Capitol Building, in violation of 40 U.S.C. § 5104 (e)(2)(G). The Government attached to the

Criminal Complaint a Statement of Facts that included screen captures of Grover’s Facebook post

and images of Grover on restricted grounds both outside and inside the Capitol. ECF No. 1-1.

          On April 28, 2021, law enforcement agents arrested Grover and executed a search warrant

at his residence in Colorado. Agents seized Grover’s cellular phone, computer, thumb drive, and

clothing matching the clothing Grove wore on January 6, 2021. Grover now moves for a change

of venue. ECF No. 40. He contends, “The size and characteristics of the District of Columbia

support a change of venue because Mr. Grover will face a jury prejudiced against him.” Id. at 1-

9. Grover claims in support of his motion that the Court should presume prejudice against him in

this District because: (1) a survey conducted by Select Litigation demonstrates prospective jurors

in this District hold “hostile attitudes” and are more prejudiced against January 6 defendants; (2)

factors such as the size and characteristics of the community where the crime occurred, the

information reported by the media related to the defendant’s guilt, and the interval between a

widely reported crime and the actual trial warrant a transfer of venue. Grover also separately

contends that a change of venue is warranted in the interest of justice for convenience of the parties

and witnesses. Each of the defendant’s arguments is without merit, and the motion should be

denied.




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                                           ARGUMENT

       The Constitution provides that “[t]he trial of all Crimes . . . shall be held in the State where

the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard

against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

       The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best

course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d

31, 63 (D.C. Cir. 1976) (en banc) (per curiam). And, after voir dire, “it may be found that, despite

earlier prognostications, removal of the trial is unnecessary.” Jones v. Gasch, 404 F.2d 1231, 1238

(D.C. Cir. 1967).

I.     The Select Litigation Poll Does Not Support a Presumption of Prejudice.

       Grover relies on a poll conducted by Select Litigation, a private litigation consulting firm,

at the request of the Federal Public Defender for the District of Columbia. ECF No. 40 at 4. Select




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Litigation conducted a telephone poll of potential jurors in the District of Columbia and in the

Atlanta Division of the Northern District of Georgia and contracted with a media research firm to

analyze news media coverage of January 6 in both of those jurisdictions. ECF No. 40-1 at 1.

       A.      Courts have repeatedly declined to find a presumption of prejudice based on
               pretrial polling without conducting voir dire.
       Grover argues that this Court should find a presumption of prejudice based on the results

of the Select Litigation poll of prospective jurors. ECF No. 40 at 4-9. But “courts have commonly

rejected such polls as unpersuasive in favor of effective voir dire as a preferable way to ferret out

any bias.” United States v. Causey, 2005 WL 8160703, at *7 (S.D. Tex. 2005). As one circuit has

observed, the Supreme Court’s emphasis on the important role of voir dire in addressing pretrial

publicity “undercuts” the “argument that poll percentages . . . decide the question of a presumption

of prejudice.” In re Tsarnaev, 780 F.3d 14, 23 (1st Cir. 2015) (per curiam); see Mu’Min v.

Virginia, 500 U.S. 415, 427 (1991) (observing that, “[p]articularly with respect to pretrial

publicity, . . . primary reliance on the judgment of the trial court makes good sense”).

       Indeed, the D.C. Circuit has rejected a claim of presumed prejudice based on the results of

a pre-voir dire survey.     Haldeman, 559 F.2d at 64.         In Haldeman, seven former Nixon

administration officials (including the former Attorney General of the United States) were

prosecuted for their role in the Watergate scandal. Id. at 51. According to a poll commissioned

by the defense in that case, 93% of the Washington, D.C. population knew of the charges against

the defendants and 61% had formed the opinion that they were guilty. Id. at 144, 178 n.2

(MacKinnon, J., concurring in part and dissenting in part). Recognizing that the case had produced

a “massive” amount of pretrial publicity, id. at 61, the D.C. Circuit nevertheless held that the

district court “was correct” to deny the defendants’ “pre-voir dire requests for . . . a change of

venue,” id. at 63-64. The court observed that the district court “did not err in relying less heavily



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on a poll taken in private by private pollsters and paid for by one side than on a recorded,

comprehensive voir dire examination conducted by the judge in the presence of all parties and

their counsel.” Id. at 64 n.43.

       Other circuits have similarly rejected attempts to elevate polling results over voir dire. In

United States v. Campa, a pre-trial survey found that 69% of respondents were prejudiced against

anyone charged with spying on behalf of Cuba, as the defendants were. Campa, 459 F.3d at 1157

(Birch, J., dissenting). The en banc Eleventh Circuit affirmed the denial of a motion for change of

venue, explaining that “[w]hen a defendant alleges that prejudicial pretrial publicity would prevent

him from receiving a fair trial, it is within the district court’s broad discretion to proceed to voir

dire to ascertain whether the prospective jurors have, in fact, been influenced by pretrial publicity.”

Id. at 1146 (majority opinion).

       Similarly, in United States v. Rodriguez, 581 F.3d 775 (8th Cir. 2009), a poll indicated that

99 percent of respondents had heard about the brutal rape and murder with which the defendant

was charged, nearly 88 percent of those respondents believed he was guilty, and about 42 percent

of respondents had a strongly held opinion of his guilt. Id. at 786; Brief for the Appellant, United

States v. Rodriguez, No. 07-1316 (8th Cir.), 2008 WL 194877, at *19. Nonetheless, the Eighth

Circuit found no presumption of prejudice, observing that a district court was not required “to

consider public opinion polls when ruling on change-of-venue motions.” Rodriguez, 581 F.3d at

786. And the court held that, in any event, the poll did not “demonstrate widespread community

prejudice” because the “media coverage had not been inflammatory,” two years had passed since

the murder, and “the district court concluded that special voir dire protocols would screen out

prejudiced jurors.” Id.




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        There are good reasons to rely on voir dire, rather that public-opinion polls, when assessing

whether prejudice should be presumed. First, polling lacks many of the safeguards of court-

supervised voir dire, including the involvement of both parties in formulating the questions.

Surveys that are not carefully worded and properly conducted can produce misleading results, such

as by asking leading questions or providing the respondents with facts that will influence their

responses. See Campa, 459 F.3d at 1146 (noting problems with “non-neutral” and “ambiguous”

questions). Second, polling lacks the formality that attends in-court proceedings under oath, and

it does not afford the court the “face-to-face opportunity to gauge demeanor and credibility.”

Skilling, 561 U.S. at 395. Third, polls ordinarily inform the court only the extent to which

prospective jurors have heard about a case and formed an opinion about it. But that is not the

ultimate question when picking a jury. A prospective juror is not disqualified simply because he

has “formed some impression or opinion as to the merits of the case.” Irvin v. Dowd, 366 U.S.

717, 722 (1961). Instead, “[i]t is sufficient if the juror can lay aside his impression or opinion and

render a verdict based on the evidence presented in court.” Id. at 723. But pre-trial surveys are

poorly suited to answering that ultimate question, which is best asked in the context of face-to-

face voir dire under oath. See Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981) (observing

that the trial judge’s function in voir dire “is not unlike that of the jurors later in the trial” because

“[b]oth must reach conclusions as to impartiality and credibility by relying on their own

evaluations of demeanor evidence and of responses to questions”).

        In sum, federal courts have shown an overwhelming preference for assessing prejudice

through court-supervised voir dire rather than through public opinion polls. And the defendant

has not offered any reason to depart from that usual practice here. Thus, this Court need not give

substantial weight to the polling when considering whether to presume prejudice. But, as




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explained below, the Select Litigation poll does not support a presumption of prejudice in any

event.

         B.     The Select Litigation poll does not demonstrate pervasive prejudice in the
                District of Columbia.

         Contrary to Grover’s contention, the Select Litigation poll does not support a presumption

of prejudice in this District. As an initial matter, the Select Litigation poll selected only one

comparator jurisdiction—the Atlanta Division of the Northern District of Georgia. Grover has not

requested a transfer to that district or division, but instead asks this Court for “a transfer to his

home District of Colorado.” ECF No. 40 at 1. The Select Litigation survey tells the Court nothing

about the views or media exposure of prospective jurors in that district. The poll therefore cannot

show that selecting an impartial jury would be any more difficult in the District of Columbia than

in the District of Colorado. See United States v. Haldeman, 559 F.2d 31, 64 n.43 (D.C. Cir. 1976)

(en banc) (per curiam) (observing that a change of venue “would have been only of doubtful value”

where the pretrial publicity was national in scope).

         Furthermore, to the extent the poll is useful at a more general level in comparing the District

of Columbia to other districts, the poll indicates that levels of media exposure to the events of

January 6 are not significantly different in Atlanta than in Washington, D.C. The number of

respondents who had seen “[a] lot” of coverage in each jurisdiction differed only by three

percentage points (33% in D.C. versus 30% in Atlanta), which is within the margin of error. ECF

No. 40-1 at 1-2, 14. The number of respondents who had seen “[s]ome” coverage was exactly the

same (25% in both jurisdictions), and the number who had seen “[q]uite a bit” of coverage was

not significantly different (28% in D.C. versus 20% in Atlanta). Id. at 14. The total percentage of

respondents who were exposed to “[a] lot,” “[q]uite a bit,” or “[s]ome” news coverage was 86%




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in Washington, D.C. and 75% in Atlanta. Id. at 14. This relatively small difference does not

suggest that news coverage has made it impossible to pick an impartial jury in Washington, D.C.

       Grover points out that 71% of respondents in D.C. said they had formed the opinion

January 6 arrestees were “guilty” of the charges brought against them. See ECF No. 40 at 4; ECF

No. 40-1 at 14. The survey failed, however, to provide respondents with the option of saying they

were “unsure” about guilt, even though such an option is required by professional standards that

apply in this area. See American Society of Trial Consultants, Professional Standards for Venue

Surveys at 9, available at https://www.astcweb.org/Resources/Pictures/Venue%2010-08.pdf

(“Respondents must be made aware that they can say they do not know or have no opinion.”). The

survey instead gave respondents a binary choice between “guilty or not guilty.” ECF No. 40-1 at

14. Yet even without being provided the appropriate options, 26% of D.C. respondents voluntarily

gave an answer of “Depends” or “Don’t know/Refused.” Id. This shows that, even in response to

a poorly worded question, more than a quarter of the District’s residents realized the need to keep

an open mind about guilt.

       Understood in context, the Select Litigation poll does not indicate any higher degree of

juror bias than in Haldeman, where the en banc D.C. Circuit found no presumption of prejudice.

In Haldeman, 61% of respondents expressed a view that the defendants were guilty, as opposed to

the 71% here. See Haldeman, 559 F.2d at 144, 178 n.2 (MacKinnon, J., concurring in part and

dissenting in part). But the survey in Haldeman first asked respondents whether they had formed

an opinion about whether the indicted Nixon aides were guilty or innocent, giving options for both

“No” (i.e. had not formed an opinion) and “Don’t Know/No Opinion.” Id. at 178 n.2. The survey

then asked whether respondents thought the defendants were “guilty or innocent in the Watergate

affair,” giving options for “Not Guilty Until Proven” and “No Opinion/Don’t Know.” Id. Only




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after (a) being prompted to consider whether they could actually form an opinion, and (b) being

reminded of the presumption of innocence, did 61% of respondents say “guilty.” Id.

       Here, by contrast, respondents were not provided a “don’t know” option, were not

reminded of the presumption of innocence, and were asked only whether they thought the “several

hundred people” arrested in connection with January 6 were “guilty.” ECF No. 40-1 at 14

(Questions 3, 4). When asked about guilt in the context of a criminal trial, however, respondents

in the Select Litigation survey were far less likely to give an answer of “guilty.” Question 5 asked

them to “[a]ssume [they] were on a jury for a defendant charged with crimes for his or her activities

on January 6” and then asked whether they were “more likely to vote that the person is guilty or

not guilty.” ECF No. 40-1 at 14. In response to this question, only 52% of D.C. respondents said

“Guilty,” and fully 46% volunteered a response of “Depends” or “Don’t know/Refused.” Id. Thus,

when asked to consider guilt or innocence in the context of a “defendant charged with crimes,” as

opposed to the “several hundred people . . . arrested,” nearly half of D.C. residents were committed

to keeping an open mind—even without being instructed on the presumption of innocence or being

provided an option for “Do not know.” This indicates, if anything, a lower degree of prejudice

than was present in Haldeman.

       Grover asserts “there is a significant and unique disparity in negative views of the accused

held by prospective D.C. jurors that does not exist in a comparable city (i.e., Atlanta).” ECF No.

40 at 6. According to the Select Litigation poll Grover relies upon, 84% of D.C. respondents had

an “unfavorable” view of “people arrested for participating in the events at the U.S. Capitol on

January 6.” ECF No. 40-1 at 14. Although that is higher than the 54% of Atlantans with

unfavorable views, it is quite similar to the results of a nationwide CBS poll, which found that

83% of respondents “[s]omewhat disapprove” or “[s]trongly disapprove” of the “actions taken by




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the people who forced their way into the U.S. Capitol on January 6.” See CBS News Poll,

December                   27-30,                 2021,                  Question                  2,

https://drive.google.com/file/d/1QNzK7xBJeWzKlTrHVobLgyFtId9Cgsq_/view.                     Notably,

despite extensive citation to the Select Litigation poll, Grover has not asked to be tried in Atlanta

and has not provided any information about the views in the District of Colorado, the requested

venue. And, in any event, the fact that many D.C. residents have a generally “unfavorable” view

of people “arrested” on January 6 does not mean that an impartial jury cannot be selected in this

jurisdiction.

        Grover also points out that 62% of D.C. respondents (compared to 48% of Atlanta

respondents) would describe “most of the people who were arrested for their involvement in the

events on January 6th” as “criminals.” See ECF No. 40 at 5; see also ECF No. 40-1 at 14 (Question

10). The answers to this question likely reflect the commonly held view that most people arrested

for crimes are in fact guilty of those crimes. But the fact that 62% of D.C. respondents expressed

this off-the-cuff view about “most” of the 700-plus January 6 arrestees does not demonstrate that

all of those respondents would be unable to impartially find the facts in a specific case after being

properly instructed by the Court. Moreover, the question demonstrates that fully 28% of D.C.

respondents would not describe those arrestees as criminals, and 9% were unsure or refused to

answer. ECF No. 40-1 at 14. And the 14% difference between D.C. and Atlanta—which could

easily be explained by demographic differences such as age and education levels (see ECF No. 40-

1 at 15)—would not justify the conclusion that this is an “extreme case” in which a change of

venue is required. Skilling, 561 U.S. at 381.

        Nor should prejudice be presumed as Grover suggests because a substantial numbers of

respondents “would” describe “the people who forced their way into the U.S. Capitol” as “[t]rying




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to overturn the election and keep Donald Trump in power” (85%), engaging in “[i]nsurrection”

(76%), or “[t]rying to overthrow the U.S. government” (72%). ECF No. 40-1 at 15. For one thing,

this question asked specifically about those who “forced their way into the U.S. Capitol,” which

suggests a higher degree of culpability than simply entering the Capitol. For another, the poll did

not provide an “undecided” option but asked only whether respondents “would” or “would not”

use those descriptions. Id. Nor did the question define the offenses of “insurrection” or advocating

the overthrow of government, see 18 U.S.C. §§ 2383, 2385, offenses with which few defendants

have been charged in connection with January 6. And, most importantly, the poll did not answer

the key question: whether a sufficient number of prospective jurors can “lay aside [their]

impression[s] or opinion[s] and render a verdict based on the evidence presented in court.” Irvin,

366 U.S. at 723; see Patton v. Yount, 467 U.S. 1025, 1029 (1984) (no presumption of prejudice

where nearly 99% of prospective jurors had heard of the case and 77% indicated on voir dire that

“they would carry an opinion into the jury box”). In short, the Select Litigation poll does not come

close to demonstrating that “12 impartial individuals could not be empaneled” in Washington,

D.C. Skilling, 561 U.S. at 382.

       In any U.S. jurisdiction, most prospective jurors will have heard about the events of January

6, and many will have various disqualifying biases. But the appropriate way to identify and address

those biases is through a careful voir dire, rather than a change of venue based solely on pretrial

polling and media analyses. As in Haldeman, there is “no reason for concluding that the population

of Washington, D. C. [i]s so aroused against [the defendant] and so unlikely to be able objectively

to judge [his] guilt or innocence on the basis of the evidence presented at trial” that a change of

venue is required. Haldeman, 559 F.2d at 62.

II.    The District of Columbia’s Political Makeup Does Not Support a Presumption of
       Prejudice.



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       Moreover, contrary to Grover’s assertion, ECF No. 40 at 6, the political makeup of the

District of Columbia (with more than 90% of voters voting for the Democratic Party in the 2020

Presidential Election) does not mean he cannot obtain a fair trial here. The en banc D.C. Circuit

rejected a nearly identical claim in Haldeman, where the dissent concluded that a venue change

was required because “Washington, D.C. is unique in its overwhelming concentration of

supporters of the Democratic Party” and the Democratic candidate received 81.8% and 78.1% of

the vote when Nixon ran for President in 1968 and 1972, respectively. Haldeman, 559 F.2d at 160

(MacKinnon, J., concurring in part and dissenting in part). The majority rejected the relevance of

this fact, observing that authority cited by the dissent gave no “intimation that a community’s

voting patterns are at all pertinent to venue.” Id. at 64 n.43; see also United States v. Chapin, 515

F.2d 1274, 1286 (D.C. Cir. 1975) (rejecting the argument that “because of [the defendant’s]

connection with the Nixon administration and his participation in a ‘dirty tricks’ campaign aimed

at Democratic candidates and with racial overtones, a truly fair and impartial jury could not have

been drawn from the District’s heavily black, and overwhelmingly Democratic, population”). If

“the District of Columbia’s voting record in the past two presidential elections” is not “at all

pertinent to venue” in a case involving high-ranking members of a presidential administration,

Haldeman, 559 F.2d at 64 n.43, it cannot justify a change of venue here. To be sure, some potential

jurors might be unable to be impartial in January 6 cases based on disagreement with the

defendants’ political aims. But whether individual prospective jurors have such disqualifying

biases can be assessed during voir dire. This Court should not presume that every member of a

particular political party is biased simply because this case has a political connection. Indeed, the

Supreme Court has stated in the context of an election-fraud trial, that “[t]he law assumes that

every citizen is equally interested in the enforcement of the statute enacted to guard the integrity



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of national elections, and that his political opinions or affiliations will not stand in the way of an

honest discharge of his duty as a juror in cases arising under that statute.” Connors v. United

States, 158 U.S. 408, 414 (1895). The same is true here. The District’s voting record does not

establish that this Court will be unable to select “an unbiased jury capable of basing its verdict

solely on the evidence introduced at trial.” Haldeman, 559 F.2d at 70.

       To the contrary, as the nation’s capital and seat of the federal government, the District has

been home to its fair share of trials in politically charged cases. High-profile individuals strongly

associated with a particular party, such as Marion Barry, John Poindexter, Oliver North, Scooter

Libby, and Roger Stone, have all been tried in the District. See United States v. Barry, 938 F.2d

1327 (D.C. Cir. 1991); United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991); United States

v. North, 910 F.2d 843 (D.C. Cir. 1990) (per curiam); United States v. Libby, 498 F. Supp. 2d 1

(D.D.C. 2007); United States v. Stone, No. 19-CR-0018 (ABJ), 2020 WL 1892360 (D.D.C. Apr.

16, 2020). Indeed, the Court in Stone rejected the argument that jurors “could not possibly view

[Roger Stone] independently from the President” because of his role in the presidential campaign

or that “if you do not like Donald Trump, you must not like Roger Stone.” 2020 WL 1892360, at

*30-31. Similarly, here, the fact that most District residents voted against Donald Trump does not

mean those residents could not impartially consider the evidence against those charged in

connection with the events on January 6.

III.   The Factors Cited in Skilling and Rideau Do Not Support a Presumption of
       Prejudice in This District.
       Grover also contends that prejudice should be presumed based on various factors cited in

Skilling and Rideau v. Louisiana, 373 U.S. 723 (1963), including (1) the size and characteristics

of the community where the crime occurred, (2) the information reported by the media related to

the defendant’s guilt, and (3) the interval between a widely reported crime and the actual trial.



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ECF No. 40 at 3.

        “The mere existence of intense pretrial publicity is not enough to make a trial unfair, nor

is the fact that potential jurors have been exposed to this publicity.” United States v. Childress, 58

F.3d 693, 706 (D.C. Cir. 1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975) (juror exposure

to “news accounts of the crime with which [a defendant] is charged” does not “alone presumptively

deprive[] the defendant of due process”). Indeed, “every case of public interest is almost, as a

matter of necessity, brought to the attention of all the intelligent people in the vicinity, and scarcely

any one can be found among those best fitted for jurors who has not read or heard of it, and who

has not some impression or some opinion in respect to its merits.” Reynolds v. United States, 98

U.S. 145, 155-56 (1878). Thus, the “mere existence of any preconceived notion as to the guilt or

innocence of an accused, without more,” is insufficient to establish prejudice. Irvin, 366 U.S. at

723. “It is sufficient if the juror can lay aside his impression or opinion and render a verdict based

on the evidence presented in court.” Id.

        The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire. In Rideau, the

defendant’s confession—obtained while he was in jail and without an attorney present—was

broadcast three times shortly before trial on a local television station to audiences ranging from

24,000 to 53,000 individuals in a parish of approximately 150,000 people. Id. at 724 (majority

opinion), 728-29 (Clark, J., dissenting). The Court concluded that, “to the tens of thousands of

people who saw and heard it,” the televised confession “in a very real sense was Rideau’s trial—

at which he pleaded guilty to murder.” Rideau, 373 U.S. at 726. Thus, the Court “d[id] not hesitate

to hold, without pausing to examine a particularized transcript of the voir dire,” that these

“kangaroo court proceedings” violated due process. Id. at 726-27.




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       Since Rideau, the Supreme Court has emphasized that a “presumption of prejudice . . .

attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has repeatedly “held in

other cases that trials have been fair in spite of widespread publicity,” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme Court has never

presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S. 532 (1965)

(presuming prejudice based on media interference with courtroom proceedings); Sheppard v.

Maxwell, 384 U.S. 333 (1966) (same). In fact, courts have declined to transfer venue in some of

the most high-profile prosecutions in recent American history. See In re Tsarnaev, 780 F.3d 14,

15 (1st Cir. 2015) (per curiam) (capital prosecution of Boston Marathon bomber); Skilling, 561

U.S. at 399 (fraud trial of CEO of Enron Corporation); United States v. Yousef, 327 F.3d 56, 155

(2d Cir. 2003) (trial of participant in 1993 World Trade Center bombing); United States v.

Moussaoui, 43 F. App’x 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (terrorism

prosecution for conspirator in September 11, 2001 attacks); Haldeman, 559 F.2d at 70 (Watergate

prosecution of former Attorney General John Mitchell and other Nixon aides).

       In Skilling, the Supreme Court considered several factors in determining that prejudice

should not be presumed where former Enron executive Jeffrey Skilling was tried in Houston,

where Enron was based. Skilling, 561 U.S. at 382-83. First, the Court considered the “size and

characteristics of the community.” Id. at 382. Unlike Rideau, where the murder “was committed

in a parish of only 150,000 residents,” Houston was home to more than 4.5 million people eligible

for jury service. Id. at 382. Second, “although news stories about Skilling were not kind, they

contained no confession or other blatantly prejudicial information of the type readers or viewers

could not reasonably be expected to shut from sight.” Id. Third, “over four years elapsed between

Enron’s bankruptcy and Skilling’s trial,” and “the decibel level of media attention diminished




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somewhat in the years following Enron’s collapse.” Id. at 383. “Finally, and of prime significance,

Skilling’s jury acquitted him of nine insider-trading counts,” which undermined any “supposition

of juror bias.” Id.

       Although these Skilling factors are not exhaustive, courts have found them useful when

considering claims of presumptive prejudice based on pretrial publicity. See, e.g., In re Tsarnaev,

780 F.3d at 21-22; United States v. Petters, 663 F.3d 375, 385 (8th Cir. 2011). And contrary to

Grover’s contention, those factors do not support a presumption of prejudice in this case.

       A.      Size and characteristics of the community.

       Grover suggests that an impartial jury cannot be found in Washington, D.C., despite the

District’s population of nearly 700,000. ECF No. 40 at 3-4. Although this District may be smaller

than most other federal judicial districts, it has a larger population than two states (Wyoming and

Vermont), and more than four times as many people as the parish in Rideau. The relevant question

is not whether the District of Columbia is as populous as the Southern District of Texas in Skilling,

but whether it is large enough that an impartial jury can be found. In Mu’Min v. Virginia, 500 U.S.

415, 429 (1991), the Court cited a county population of 182,537 as supporting the view than an

impartial jury could be selected. And Skilling approvingly cited a state case in which there was “a

reduced likelihood of prejudice” because the “venire was drawn from a pool of over 600,000

individuals.” Skilling, 561 U.S. at 382 (quoting Gentile v. State Bar of Nev., 501 U.S. 1030, 1044

(1991)). There is simply no reason to believe that, out of an eligible jury pool of nearly half a

million, “12 impartial individuals could not be empaneled.” Id.

       B.       Information reported by the media related to the defendant’s guilt.

       Grover also cites Select Litigation’s finding that over 90% of the District’s residents have

been exposed to media coverage of January 6 and a perception that January 6 defendants are non-




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resident, white supremacists, insurrectionists who supported of the former President. ECF No. 40

at 6-7. Glover cites those factors and a comparison of media coverage from the Washington, D.C.

media outlets and outlets in Atlanta as further evidence of prejudice. Id. Such arguments fail

because even “massive” news coverage of a crime does not require prejudice to be presumed.

Haldeman, 559 F.2d at 61.

       The fact that organizations such as National Public Radio (“NPR”) keep and update

information on January 6 defendants, see ECF No. 40 at 7-8, does not compel a conclusion that

District residents routinely visit such websites. Further, the specific statement attributed to Grover

is not a “confession or other blatantly prejudicial information of the type readers or viewers could

not reasonably be expected to shut from sight.” Skilling, 561 U.S. at 382. Even news stories that

are “not kind,” Skilling, 561 U.S. at 382, or are “hostile in tone and accusatory in content,”

Haldeman, 559 F.2d at 61, do not alone raise a presumption of prejudice. As in Skilling and

Haldeman, the news coverage of Grover is “neither as inherently prejudicial nor as unforgettable

as the spectacle of Rideau’s dramatically staged and broadcast confession.” Id. Indeed, although

any media characterizations of Grover would be inadmissible, the photos and videos of Grover

that have been disseminated would be both admissible and highly relevant at trial. Compare

Sheppard, 384 U.S. at 360 (noting that information reported by the media was “clearly

inadmissible” and that “[t]he exclusion of such evidence in court is rendered meaningless when

news media make it available to the public”), with Murray v. Schriro, 882 F.3d 778, 805 (9th Cir.

2018) (“There was no inflammatory barrage of information that would be inadmissible at trial.

Rather, the news reports focused on relaying mainly evidence presented at trial.”); Henderson v.

Dugger, 925 F.2d 1309, 1314 (11th Cir. 1991) (“[B]ecause we have found [the defendant’s]

confessions were admissible, the damage if any from the [pretrial] publicity is negligible.”).




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       Moreover, other than the short period after Grover’s arrest almost one year ago, there has

been a comparatively small percentage of the news coverage of January 6 has focused on Grover

himself. Unlike most cases involving pretrial publicity, where the news coverage focuses on the

responsibility of a single defendant (as in Rideau or Tsarnaev) or small number of co-defendants

(as in Skilling and Haldeman), the events of January 6 involved thousands of participants and have

so far resulted in charges against more than 775 people. The Court can guard against any spillover

prejudice from the broader coverage of January 6 by conducting a careful voir dire and properly

instructing the jury about the need to determine a defendant’s individual guilt.

       In any event, any threat of such spillover prejudice is not limited to Washington, D.C.

because much of the news coverage of January 6 has been national in scope. See Haldeman, 559

F.2d at 64 n.43 (observing that “a change of venue would have been of only doubtful value” where

much of the news coverage was “national in [its] reach” and the crime was of national interest).

As the Select Litigation poll demonstrates, the number of potential jurors exposed to “[a] lot” of

news coverage of January 6 differs only slightly between Washington, D.C. (33%) and Atlanta

(30%). ECF No. 40-1, at 14 (Question 8). Thus, the nature and extent of the pretrial publicity do

not support a presumption of prejudice.

       C.      The interval between the events of January 6, 2021 and trial.

       Grover suggests that because media reporting on the events of January 6, 2021 and trials

stemming from those events (including his own trial) will be “ongoing,” the duration of time

between the events of January 6 and his trial would not allow prejudice to dissipate. ECF No. 40

at 8. In Skilling, however, the Court considered the fact that “over four years elapsed between

Enron’s bankruptcy and Skilling’s trial.” Skilling, 561 U.S. at 383. In this case, 15 months have

already elapsed since the events of January 6, and more time will elapse before trial. This is far




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more than in Rideau, where the defendant’s trial came two months after his televised confession.

Rideau, 373 U.S. at 724. Although January 6 continues to be in the news, the “decibel level of

media attention [has] diminished somewhat,” Skilling, 561 U.S. at 383. Moreover, only a

relatively small percentage of the recent stories have mentioned Grover himself, and much of the

reporting has been national is scope, rather than limited to Washington, D.C.

       D.      The Impact of January 6 on Washington D.C. Does Not Support a
               Presumption of Prejudice.

       Grover also contends that a D.C. jury could not be impartial because D.C. residents have

been particularly affected by events surrounding January 6 in that they feel a “deep connection to

the attack.” EFC No. 40 at 9. Although that is true of some D.C. residents, including some who

“know people who were at the Capitol when the breach occurred,” id., it is not true of everyone

who resides in the District. Voir dire is designed to identify and eliminate potential jurors whose

connections to the attack prevent them from being impartial. And there is no reason to believe that

the District’s entire population of 700,000 people was so affected by these events that the Court

cannot seat an impartial jury here.

       Indeed, courts routinely conclude that defendants can receive a fair trial in the location

where they committed their crimes, despite the fact that some members of the community were

victimized. See In re Tsarnaev, 780 F.3d 14, 15 (1st Cir. 2015) (Boston Marathon bombing);

Skilling, 561 U.S. at 399 (Enron collapse); United States v. Yousef, 327 F.3d 56, 155 (2d Cir. 2003)

(1993 World Trade Center bombing); United States v. Moussaoui, 43 F. App’x 612, 613 (4th Cir.

2002) (per curiam) (unpublished) (September 11, 2001 attacks, including on the Pentagon). In

Skilling, the Supreme Court rejected the contention that Enron’s “sheer number of victims” in the

Houston area “trigger[ed] a presumption of prejudice.” Skilling, 561 U.S. at 384 (quotation

omitted). “Although the widespread community impact necessitated careful identification and



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inspection of prospective jurors’ connections to Enron,” the voir dire was “well suited to that task.”

Id. In this case too, voir dire can adequately identify those D.C. residents who were so affected by

January 6 that they cannot impartially serve as jurors. There is no reason to presume prejudice.

IV.    A Change of Venue Is Not Warranted Under Federal Rule of Criminal Procedure
       21(b) Based on Convenience or the Interest of Justice.

       Lastly, Grover argues (ECF No. 40 at 9-10) that this Court should transfer venue to the

District of Colorado under Rule 21(b), which allows transfer to another district “for the

convenience of the parties, any victim, and the witnesses, and in the interest of justice.” Fed. R.

Crim. P. 21(b). Grover asserts that a change in venue “will afford Mr. Grover a more diverse jury

pool of his peers in a similarly urban environment,” allow him to avoid “travel expenses,” and

provide him with “proximity to his family and support system” during trial. Id. These arguments

do not support a transfer of venue under Rule 21(b).

       “There is a general presumption that a criminal prosecution should be retained in the

original district.” United States v. Bowdoin, 770 F. Supp. 2d 133, 138 (D.D.C. 2011) (quoting

United States v. Baltimore & Ohio R.R., 538 F. Supp. 200, 205 (D.D.C. 1982). That presumption

is rooted in the Constitution, which states that “[t]he trial of all Crimes . . . shall be held in the

State where the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. And it is

reflected in the Federal Rules of Criminal Procedure, which state that, “[u]nless a statute or these

rules permit otherwise, the government must prosecute an offense in a district where the offense

was committed.” Fed. R. Crim. P. 18. To obtain a change of venue under Rule 21(b), a defendant

must demonstrate that trial in the district where the crime occurred “would be so unduly

burdensome that fairness requires the transfer to another district of proper venue where a trial

would be less burdensome.” Id. at 138 (quotations marks omitted). Factors a court considering a

motion to transfer venue are:



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        (1) location of the defendant; (2) location of possible witnesses; (3) location of
       events likely to be in issue; (4) location of documents and records likely to be
       involved; (5) disruption of the defendant’s business; (6) expense to the parties; (7)
       location of counsel; (8) relative accessibility of place of trial; (9) docket condition
       of each district of division involved; and (10) any other special elements which
       might affect the transfer.

Id. at 137-38. Those factors strongly support keeping the prosecution in this District. The events

at issue took place in the District of Columbia, and the witnesses and evidence are in this District.

Holding a trial in the District of Colorado would require a significant expenditure of government

funds for the prosecution team and witnesses to travel to that district.

       Moreover, none of Grove’s reasons for transfer under Rule 21(b) support an interest of

justice transfer. A trial in Colorado would undoubtedly be more convenient for Grover. But that

fact alone is not sufficient to justify transfer, particularly considering that Grover chose to travel

to Washington, D.C. to commit his crimes at the U.S. Capitol. As he recognizes, he “does not

have the right to be tried in his home jurisdiction.” ECF No. 40 at 10. And he does not explain

how proximity to his family and support system would justify a transfer under the rule.

       Grover’s claim that the District of Colorado would afford him “a more diverse jury pool,”

ECF No. 40 at 10, is similarly unavailing. As an initial matter, he does not explain what kind of

diversity he is talking about. And, as explained above, the D.C. Circuit in Haldeman rejected the

notion that a politically diverse jury pool was necessary to obtain an impartial trial in a case with

political connection. Haldeman, 559 F.2d at 64 n.43. Moreover, Grover cannot use Rule 21(b)’s

“interest of justice” standard as an alternative way to raise a claim of “local community prejudice.”

Jones v. Gasch, 404 F.2d 1231, 1238 (D.C. Cir. 1967). In Jones, the D.C. Circuit denied a petition

for mandamus which challenged the presiding judge’s denial of his motion to transfer under Rule

21(b) based on a claim of prejudicial publicity. Id. at 1234, 1238-39. The court of appeals held

“that the standard of Rule 21(a) is the exclusive gauge by which circumstances of that character



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(prejudice) are to be measured.” Id. at 1239.

         Grover is properly charged with committing offenses on January 6, 2021, in Washington,

D.C. He has failed to establish that he cannot receive a fair trial in this District, and he has failed

to articulate a basis for transfer under Rule 21(b). The Court should deny the motion.

                                          CONCLUSION

       For the foregoing reasons, Grover’s motion to transfer venue should be denied.

                                                Respectfully submitted,

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                                      CERTIFICATION

       This is to certify that on this 20th day of April 2022, undersigned counsel served a copy

of foregoing Response in Opposition to Defendant’s Motion to Transfer Venue for Trial on

Defendant via the Court’s CM/ECF addressed to Defendant’s counsels of record.

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